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16                      IN THE UNITED STATES DISTRICT COURT
17
                           FOR THE DISTRICT OF ARIZONA
18
                                                         No. 2:19-cv-05217-SRB
19    C.M., on her own behalf and on behalf of her
      minor child, B.M.; L.G., on her own behalf and
20    on behalf of her minor child, B.G.; M.R., on her
21    own behalf and on behalf of her minor child,
                                                         PLAINTIFFS’ OPPOSITION
      J.R.; O.A., on her own behalf and on behalf of
                                                         TO DEFENDANT’S MOTION
22    her minor child, L.A.; and V.C., on her own
                                                         TO CONSOLIDATE CASES
      behalf and on behalf of her minor child, G.A.,
23                                                       FOR COMMON POLICY-
                          Plaintiffs,                    BASED DISCOVERY ONLY
24
                   v.
25
      United States of America,
26
                          Defendant.
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                                                 1
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 1                                                         No. 2:20-cv-00065-SRB
      A.P.F. on his own behalf and on behalf of his
 2    minor child, O.B.; J.V.S. on his own behalf and
 3    on behalf of his minor child, H.Y.; J.D.G. on his
      own behalf and on behalf of his minor child,
 4    M.G.; H.P.M. on his own behalf and on behalf
      of his minor child, A.D.; M.C.L. on his own
 5    behalf and on behalf of his minor child, A.J.;
 6    and R.Z.G. on his own behalf and on behalf of
      his minor child, B.P.,
 7
                           Plaintiffs,
 8
                    v.
 9
      United States of America,
10
                           Defendant.
11
            Two years into discovery in these cases, and one month before the close of fact
12
     discovery, Defendant now moves this Court for an order consolidating this action with
13
     A.I.I.L v. Sessions, No. 19-cv-00481-JCH (D. Ariz.), “for the sole purpose of
14
     coordinating policy-based discovery common to each case,” but without offering any
15
     proposal for how such consolidation would work in practice.1 C.M. ECF 232 at 1;
16
     A.P.F. ECF 220 at 1. Because consolidation would cause delay, inconvenience, and
17
     prejudice to C.M. and A.P.F. Plaintiffs, Defendant’s motion should be denied.
18
            District courts have “broad discretion whether or not to consolidate actions”
19
     under Fed. R. Civ. P. 42(a).” Allen v. Hylands, Inc., 2012 WL 1656750, at *2 (C.D.
20
     Cal. May 2, 2012) (citing Pierce v. County of Orange, 526 F.3d 1190, 1203 (9th Cir.
21
     2008)). In determining whether to consolidate actions, “a court weighs the interest in
22
     judicial convenience against the potential for delay, confusion, and prejudice caused by
23
     consolidation.” Paxonet Commc’ns, Inc. v. TranSwitch Corp., 303 F. Supp. 2d 1027,
24
25          1
              Defendant broadly defines “policy-based discovery” as encompassing “the
     national-level policy-related discovery directed at high level government officials, as
26   well as the implementation of such policies by officials and employees of Border
     Patrol Sectors, Immigration and Customs Enforcement (ICE) Field Offices, and U.S.
27   Attorney’s Offices.” Motion at 1-2.
28
                                                  2
       Case 4:19-cv-00481-JCH Document 95 Filed 06/28/22 Page 3 of 8



 1   1028 (N.D. Cal. 2003); see also Allen, 2012 WL 1656750, at *2 (“In determining
 2   whether consolidation is appropriate, courts weigh ‘the saving of time and effort
 3   consolidation would produce against any inconvenience, delay, or expense that it would
 4   cause.’”) (citation omitted). In weighing the benefits of consolidation against any
 5   prejudice, “[t]he court may consider factors such as disparate trial dates or different
 6   stages of discovery as weighing against consolidation of the cases.” Single Chip Sys.
 7   Corp. v. Intermec IP Corp., 495 F. Supp. 2d 1052, 1057 (S.D. Cal. 2007); see also
 8   Parapluie v. Mills, 2012 WL 13009100, at *6 (C.D. Cal. Jan. 26, 2012) (“Even if some
 9   common questions of law or fact are presented, ‘this does not justify consolidation, . . .
10   where . . . parties would be prejudiced by [the fact that] the cases are in different phases
11   of pre-trial procedures.’”) (citation omitted). Further, where the plaintiffs in one action
12   oppose consolidation with another action, “[c]onsolidation is . . . likely to waste just as
13   much time as it saves because counsel for the two sets of plaintiffs will need to reach
14   consensus on litigation decisions.” Allen, 2012 WL 1656750, at *6.
15           As the party seeking consolidation under Fed. R. Civ. P. 42(a), Defendant bears
16   the burden to establish that the requirements for consolidation have been met. Single
17   Chip Sys. Corp., 495 F. Supp. 2d at 1057. Defendant has failed to meet that burden
18   here.
19           Consolidation at this late stage will only serve to delay and complicate discovery
20   in these cases. In C.M. and A.P.F., Defendant has produced over 78,000 policy-related
21   documents;2 each group of Plaintiffs has served all or nearly all of their allotted
22   interrogatories, requests for production, and requests for admission; and C.M. and
23   A.P.F. Plaintiffs jointly have conducted seven policy depositions, with several
24   additional joint policy depositions already scheduled; and the deadline for completing
25   fact discovery is July 15, 2022. In A.I.I.L., by contrast, no case management order
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             2
             This total does not reflect the total number of unique documents produced
27   given the substantial number of duplicates.
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                                                    3
       Case 4:19-cv-00481-JCH Document 95 Filed 06/28/22 Page 4 of 8



 1   setting discovery deadlines has even been issued. See generally A.I.I.L v. Sessions, No.
 2   19-cv-00481-JCH (D. Ariz.). Even if Defendant produced to the A.I.I.L. plaintiffs every
 3   document produced in C.M. and A.P.F. Plaintiffs tomorrow, it would take the A.I.I.L.
 4   plaintiffs months—at a minimum—to get up to speed to enable them to meaningfully
 5   participate in the remaining depositions in these cases. Given the different procedural
 6   postures of the cases, consolidation would prejudice C.M. and A.P.F. Plaintiffs by
 7   significantly delaying this action. At the most recent conference, on June 2, 2022, the
 8   Court stated that it did not want to extend any discovery deadlines. Hr’g Tr. at 16:16-
 9   17:4 (June 2, 2022). Consolidation is thus inappropriate. See, e.g., Glass v. Intel Corp.,
10   2007 WL 2265663, at *5 (D. Ariz. Aug. 6, 2007) (denying consolidation because it
11   “may likely lead to unreasonable delay in this action” given the different procedural
12   postures of the cases); U.S. Rubber Recycling, Inc. v. Encore Int’l, Inc., 2011 WL
13   311014, at *13 (C.D. Cal. Jan. 7, 2011) (denying motion to consolidate where
14   “consolidating the two cases would unduly delay the case at hand” and consolidation
15   might “unnecessarily compromise[ ]” the schedule); accord Spurgeon v. Olympic Panel
16   Prods. LLC, 2008 WL 1805726 (W.D. Wash. Apr. 21, 2008).
17           As a practical matter, consolidation would hinder expeditious and efficient
18   resolution of Plaintiffs’ claims by requiring C.M. and A.P.F. Plaintiffs to reach
19   consensus with the A.I.I.L. plaintiffs as to litigation strategy and division of labor. C.M.
20   and A.P.F. Plaintiffs already must coordinate with each other to select which policy-
21   level government officials to depose, what topics and documents to cover, and to split
22   time questioning such officials.      Requiring Plaintiffs to further coordinate with
23   additional counsel for other plaintiffs—particularly where, as discussed below, there
24   may be differences in focus or strategy—would be unduly burdensome and result in
25   further delay. See Allen, 2012 WL 1656750, at *2. Contrary to Defendant’s contention,
26   consolidation would not in any way “benefit” C.M. and A.P.F. Plaintiffs. See Motion
27   at 4.
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                                                    4
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 1          The absence of any concrete proposal for consolidation in Defendant’s Motion
 2   only increases Plaintiffs’ concerns that consolidation is a delay tactic. The contours of
 3   Defendant’s consolidation proposal are entirely unclear. Defendant’s Motion does not
 4   explain what consolidation would look like where C.M. and A.P.F. are two years ahead
 5   of A.I.I.L. in discovery and many policy-level depositions have already taken place.
 6   When Plaintiffs asked Defendant to explain how the proposed consolidation would
 7   affect Plaintiffs in C.M. and A.P.F., given the rapidly approaching deadline for fact
 8   discovery in those cases, counsel for Defendant stated that it was “premature” to discuss
 9   such details.
10          Finally, as Defendant acknowledges, there are factual differences among the
11   cases. See Motion at 2 (acknowledging that “the specific factual issues concerning the
12   Plaintiffs in [A.I.I.L.] differ in some respects from those in C.M. and A.P.F.”); id. at 3
13   (discussing “the noticeable, fact-based differences between the Plaintiffs in [A.I.I.L.]
14   and those in C.M. and A.P.F.”). For instance, according to Defendant, some of the
15   A.I.I.L. plaintiffs were held in criminal custody—in contrast to the C.M. and A.P.F.
16   Plaintiffs who were never held in criminal custody. See A.I.I.L., No. 19-cv-00481-JCH,
17   ECF 53 at 14-15; Hr’g Tr. at 11:10-12:6 (June 2, 2022) (noting that the C.M. and A.P.F.
18   adult plaintiffs were never in criminal custody). Indeed, Defendant previously argued
19   that, “the factual circumstances of [A.I.I.L.] Plaintiffs’ separations are materially
20   different from the separations in C.M. and A.P.F.,” including because of “a criminal
21   history in the arriving [immigrant’s] home country” for one adult plaintiff. See A.I.I.L,
22   No. 19-cv-00481-JCH, ECF 62 at 2 n.1. Defendant’s assertion that “plaintiffs from
23   each case will necessarily need to depose the same policy-level federal officials and
24   obtain the same non-individualized documentary evidence,” Motion at 4, is therefore
25   inaccurate.3 Even for common depositions, the factual differences likely would result
26          3
              To the extent there is overlap in documents and testimony needed, there are
27   less prejudicial ways to accomplish the efficiency Defendant seeks. For example,

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 1   in plaintiffs in the various cases pursuing differing strategies or lines of questioning
 2   during policy-level depositions. C.M. and A.P.F. Plaintiffs should not be forced to
 3   carve out time for additional plaintiffs to question policy-level witnesses at this late
 4   stage in the discovery process. And, as a practical matter, trying to schedule depositions
 5   based on the availability of additional counsel is likely to cause delay.
 6          Accordingly, Plaintiffs respectfully request that the Court deny Defendant’s
 7   Motion.
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     Defendant could offer the policy-related documents and deposition transcripts from
27   the C.M. and A.P.F. cases to the A.I.I.L. plaintiffs.
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                                                   6
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 1
 2   RESPECTFULLY SUBMITTED this 28th day of June, 2022.

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